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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO
JOHN HEARD,
           Plaintiff,
                                                                    No. 2:15-cv-00516 MCA/SMV
v.

GREGG MARCANTEL, et al.,
           Defendants.

                        DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                              AND SUPPORTING MEMORANDUM
           Defendants James Frawner and Management & Training Corporation1 (collectively

“Defendants”), by and through their counsel of record Keleher & McLeod, P.A., and pursuant to

Fed. R. Civ. P. 56, hereby move for summary judgment on Plaintiff’s claims. In support of this

motion, Defendants have concurrently filed their Martinez Report, which, in turn, is supported

by the affidavit of Otero County Prison Facility (“OCPF”) Warden Rick Martinez. That affidavit

authenticates and explains the legitimate penological interests served by New Mexico

Corrections Department (“NMCD”) policy CD-151201(E)(6)(e), which prohibits hardbound

books and publications containing photographs of female(s) partially or totally nude and/or

posed in a sexually explicit position.

                                               INTRODUCTION
           Plaintiff challenges the constitutionality of two subsections of CD-151201(E)(6)(e) which

prohibits hardbound books and publications containing photographs of female(s) partially or

totally nude and/or posed in a sexually explicit position. (Complaint [Doc. 1].) Specifically,

Plaintiff claims that neither provision is rationally related to a legitimate penological interest.

(Id.) Plaintiff further claims that the photographs provision is unconstitutional because it only



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    Defendant Gregg Marcantel is represented by separate counsel.
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addresses females and relies too heavily on the discretion of the personnel screening the mail.

(Id.)

         Warden Frawner and MTC should be summarily dismissed from this matter because

Plaintiff has failed to include any factual allegations against them. (See generally Complaint

[Docs. 1, 9].) In the absence of any factual allegations demonstrating personal involvement of

either Warden Frawner or MTC, dismissal with prejudice is warranted. Further, the policies at

issue in this lawsuit are expressly aimed at advancing jail security and protecting the safety of jail

personnel and other inmates. The Court should uphold them as constitutional and dismiss

Plaintiff’s claims with prejudice.

                                      UNDISPUTED FACTS
         Based on the aforementioned affidavit and authenticated documents, the following facts

are not in dispute:

         1.     Plaintiff has been incarcerated at OCPF from July 24, 2013 through present.

([Doc. 38] Martinez Report, Ex. 1, Affidavit of Warden Martinez (“Martinez Aff.”), ¶ 6.)

         Hardbound books
         2.     When an OCPF inmate bears the associated mailing costs, he is allowed broad

access to various publications, subject to reasonable limitations imposed by prison officials to

protect public safety and institutional order and security. (Id., ¶ 11.)

         3.     CD-150201(F)(4) provides that “Inmates may acquire books, magazines, and

newspapers from the publisher, not to exceed the allowable quantity as per institutional custody

limitation. Nudity, pornography, and/or gang-related materials are prohibited.”           ([Doc. 38]

Martinez Report, Ex. 1, Martinez Aff., ¶ 9 and [Doc. 38-5] HEARD, J. 00038.)

         4.     CD-151201(J) provides that “[b]ooks and magazines will be accepted and

delivered to inmates if they are received directly from the publisher or vendor, subject to other



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restrictions set out herein and in other policies.” ([Doc. 38] Martinez Report, Ex. 1, Martinez

Aff., ¶ 8 and [Doc. 38-2] HEARD, J. 00006.)

        5.     CD-151201(E)(6)(e) prohibits hardbound books and publications containing

photographs of female(s) partially or totally nude and/or posed in a sexually explicit position.

([Doc. 38] Martinez Report, Ex. 1, Martinez Aff., ¶ 8 and [Doc. 38-2] HEARD, J. 00004.)

        6.     CD-151201(E)(6)(c) also prohibits obscene material that “appeals primarily to the

prurient interests or is patently offensive.” (Id.)

        7.     OCPF’s mail and correspondence policy -- OCPF 707(G)(4) -- prohibits “sexually

explicit material.” ([Doc. 38] Martinez Report, Ex. 1, Martinez Aff., ¶ 10 and [Doc. 38-8]

HEARD, J. 00078.)

        8.     OCPF 707(B)(6) and (D) permits inmates to receive packages, such as paperback

books, so long as the inmate makes advance arrangements with the Warden. ([Doc. 38] Martinez

Report, Ex. 1, Martinez Aff., ¶ 14 and [Doc. 38-8] HEARD, J. 00076.)

        9.     OCPF has a library where inmates can access books. ([Doc. 38] Martinez Report,

Ex. 1, Martinez Aff., ¶ 16; (see also Complaint [Doc. 1], 8 (Plaintiff representing the OCPF

library has books that inmates can check out).)

        10.    One of the reasons for these hardbound book policies are the potential for hiding

contraband and/or weapons in the hardbound books.           ([Doc. 38] Martinez Report, Ex. 1,

Martinez Aff., ¶ 12.) In addition, the restriction on hardbound books being permitted into the

facility reduces the time and resources necessary to inspect and search such property. (Id.)

        11.    OCPF personnel regulate incoming mail and publications to prevent the

introduction of contraband, which threatens to adversely affect the security and safety of OCPF.

(Id., ¶ 13.)




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        12.     OCPF inmates that want to purchase paperback books through the mail are

permitted to do so if they make advance arrangements with the Warden and the paperback books

are purchased from a publisher or vendor. (Id., ¶ 14.)

        13.     Allowing inmates to purchase paperback books only from the publisher or vendor

helps to prevent contraband from being smuggled into OCPF and lessens the administrative

burden on OCPF personnel who must inspect each book. (Id., ¶ 15.)

        Rejection of materials

        14.     Prison officials reject incoming materials that are obscene, meaning materials that

appeal primarily to the prurient interests or are patently offensive, that contain nudity or

pornography, and/or that show female(s) partially or totally nude and/or posed in a sexually

explicit position. (Id., ¶ 17.)

        15.     OCPF personnel reject obscene materials to protect institutional security, to

facilitate the rehabilitation of sex offenders, and to prevent sexual harassment. (Id., ¶ 18.)

        16.     Sexually explicit materials can lead to the open performance of lewd acts, which

disrupt the facility’s overall security and order. (Id., ¶ 19.)

        17.     Sexually explicit material may inflame a prisoner, excite a prisoner, and perhaps

result in the assault of another prisoner. (Id.)

        18.     Such materials inhibit the treatment and management of sex offenders. (Id., ¶ 20.)

OCPF is the home to a Sex Offender Treatment Program. (Id.) This means that a large portion

of OCPF’s population, including Plaintiff, are sex offenders. (Id.)

        19.     Obscene materials increase the potential for sexual harassment complaints by

OCPF staff. (Id., ¶ 21.) For example, OCPF staff might otherwise be forced to view obscene




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materials while performing their duties, and they might be subject to comments from inmates

comparing them with the individuals in the obscene photos. (Id.)

        20.     OCPF is unaware of any obvious or easy alternative that would allow inmates

access to obscene publications without significantly and adversely affecting the above-referenced

interests. (Id., ¶ 24.)

        21.     Plaintiff is a party to a case pending before the Honorable Kenneth Gonzales where

the Court has already analyzed CD-151201(E)(6)(c) – which prohibits obscene material that “appeals

primarily to the prurient interests or is patently offensive” – and found it to be constitutionally

permissible as a regulation that is reasonably related to legitimate penological objectives. Heard v.

Bravo, et al., CV-13-1236 KG/WPL, Order, [Doc. 110], at 6-7.

                            SUMMARY JUDGMENT STANDARD
        Summary judgment is appropriate “if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to a judgment as a

matter of law.” Fed.R.Civ.P. 56(c). Although the burden of showing the absence of a genuine

issue of material fact is upon the moving party, the nonmoving party “must do more than simply

show that there is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co.

v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Instead, the nonmoving party must “make a

showing sufficient to establish the existence of an element essential to that party’s case, and on

which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317,

322 (1986). The nonmoving party makes this showing only by presenting “facts such that a

reasonable jury could find in [its] favor.” Garrison v. Gambro, Inc., 428 F.3d 933, 935 (10th

Cir. 2005).




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                              ARGUMENT AND AUTHORITIES
      I. Section 1983 Personal Involvement.
         Section 1983 creates a civil action for damages under federal law against any person

acting under color of state law who violates the Constitution. 42 U.S.C. § 1983. To state a

viable claim under § 1983 against Warden Frawner and/or MTC, Plaintiff must allege some

personal involvement by Warden Frawner or MTC in the alleged constitutional violations.

Mitchell v. Maynard, 80 F.3d 1433, 1441 (10th Cir. 1996); see also Ashcroft v. Iqbal, 556 U.S.

662, 676 (2009) (“[g]overnment officials may not be held liable for the unconstitutional conduct

of their subordinates under a theory of respondeat superior.”). “[A] plaintiff must plead that

each . . . defendant, through the . . . individual[’s own] actions, has violated the Constitution.”

Dodds v. Richardson, 614 F.3d 1185, 1198 (10th Cir. 2010) (quoting Iqbal, 556 U.S. at 676).

The elements necessary to establish a § 1983 violation “will vary with the constitutional

provision at issue.” Iqbal, 556 U.S. at 676. “Thus, when a plaintiff sues an official . . . under . . .

§ 1983 for conduct ‘arising from . . . her [supervisory] responsibilities,’ the plaintiff must

plausibly plead and eventually prove not only that the official’s subordinates violated the

Constitution, but that the official by virtue of [her] own conduct and state of mind did so as

well.” Dodds, 614 F.3d at 1198 (quoting Iqbal, 556 U.S. at 677). In the Tenth Circuit, “§ 1983

allows a plaintiff to impose liability upon a defendant supervisor who creates, promulgates,

implements, or in some other way possesses responsibility for the continued operation of a

policy the enforcement . . . of which ‘subjects, or causes to be subjected’ that plaintiff ‘to the

deprivation of any rights . . . secured by the Constitution . . . .’” Id. at 1199 (quoting 42 U.S.C. §

1983).

         Plaintiff’s Complaint [Docs. 1, 9] names Warden Frawner and MTC as defendants, but

contains no allegations against them. (See generally Complaint [Docs. 1, 9].) In the absence of



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any factual allegations demonstrating personal involvement of either Warden Frawner or MTC,

dismissal with prejudice is warranted.

     II. CD-151201(E)(6)(e) is Reasonably Related to Legitimate Penological Interests.
       A prisoner has a constitutionally protected right to correspond with people outside of

prison. Turner v. Safley, 482 U.S. 78, 84 (1987). However, this right is qualified and subject to

the concerns of prison safety and security. Smith v. Maschner, 899 F.2d 940, 944 (10th Cir.

1990). Prison officials have great latitude, given the security concerns present within a prison, to

regulate incoming mail. Turner, 482 U.S. at 84-85. “‘When a prison regulation impinges on

inmates’ constitutional rights, the regulation is valid if it is reasonably related to legitimate

penological interests.’” Gee, 627 F.3d at 1187 (quoting Turner, 482 U.S. at 89). “Where the

regulations at issue concern the entry of materials into the prison…a regulation which gives prison

authorities broad discretion is appropriate.” Thornburgh v. Abbott, 490 U.S. 401, 416, 109 S. Ct.

1874, 1883 (1989); see also Al-Owhali v. Holder, 687 F.3d 1236, 1242 (10th Cir. 2012)

(acknowledging that a prison warden has “broad discretion to limit incoming information.”).

Accordingly, censorship of prisoners’ incoming mail is permissible if it is “‘reasonably related to

legitimate penological interests.’” Smith, 899 F.2d at 944 (quoting Turner, 482 U.S. at 89).

       To uphold a regulation as reasonable, the Court must: 1) determine that the regulation is

rationally connected with the legitimate governmental interest used to justify it; 2) evaluate

whether alternative means of exercising the burdened right remain available to prisoners; 3)

consider the impact an accommodation of the constitutional right will have on guards, other inmates,

and prison resources; and 4) determine if there are ready alternatives to the regulation. Turner, 482

U.S. at 89-91.

       The Supreme Court has recognized that hardback books create “an obvious security problem”

because they are “difficult to search effectively,” yet they are “especially serviceable for smuggling



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contraband into an institution; money, drugs, and weapons easily may be secreted in the bindings.”

Bell v. Wolfish, 441 U.S. 520, 550-51 (1979). Expanding on Bell, the Tenth Circuit has upheld a rule

that only allowed inmates to obtain paperback books from the jail library and, with official

permission, from the publisher. Jones v. Salt Lake Cnty., 503 F.3d 1147, 1158-59 (10th Cir. 2007).

There, the Tenth Circuit held that the rule was rationally related to the legitimate objective of prison

security in that it prevented contraband from being smuggled into the jail. Id. at 1158. Similarly,

other circuits have upheld publisher-only rules regarding hardback and paperback books,

newspapers, and magazines. See id. (citing cases omitted).

        The NMCD and OCPF policies limiting the manner in which inmates can obtain hardbound

books is aimed at protecting the prison environment, including the safety of guards and inmates.

(Undisputed Material Fact (“UMF”) Nos. 10-13.) Protecting the good order and discipline of a

prison is a legitimate governmental interest. Smith v. Maschner, 899 F.2d 940, 944 (10th Cir. 1990).

Therefore, the Court should find that limiting incoming hardback books is rationally related to

furthering this interest.

        The NMCD and OCPF policies banning sexually explicit materials – including as female(s)

partially or totally nude and/or posed in a sexually explicit position, nudity, pornography, and

obscene materials that “appeals primarily to the prurient interests or is patently offensive” – are

also constitutional. See Jones v. Salt Lake Cty., 503 F.3d 1147, 1156 (10th Cir. 2007) (A “jail’s ban

on inmate access to ‘sexually explicit material’ . . . is expressly aimed at advancing jail security and .

. . also protects the safety of jail personnel and other inmates.”). Indeed, in Plaintiff’s pending

lawsuit against the Guadalupe County Correctional Facility, the Honorable Kenneth Gonzales has

already analyzed CD-151201(E)(6)(c) – which prohibits obscene material that “appeals primarily to

the prurient interests or is patently offensive” – and found it to be constitutionally permissible as a

regulation that is reasonably related to legitimate penological objectives. (UMF No. 21.) As such,



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the ban on “[p]ublications containing photographs of female(s) partially or totally nude or posed

in a sexually explicit position” – which is another way of describing obscene material – is also

constitutional. CD-151201(E)(6)(e). This ban on inmate access to sexually explicit materials is

expressly aimed at advancing jail security and protects the safety of jail personnel and other

inmates. (UMF Nos. 14-15.) Prison security and safety are legitimate governmental objectives.

See Thornburgh, 490 U.S. at 415 (prison security is a legitimate governmental purpose “central

to all other corrections goals”) (quotations omitted); Mauro v. Arpaio, 188 F.3d 1054, 1059 (9th

Cir. 1999) (“[T]here is no doubt that protecting the safety of guards in general is a legitimate

interest, and that reducing sexual harassment in particular . . . is legitimate.”). The bans are

rationally related to these objectives. Therefore, the Court should find that limiting incoming

material on the basis of obscenity, including photos of nude females or females posed in a sexually

explicit manner, is rationally related to furthering this interest.

        Plaintiff claims that these policies banning sexually explicit materials are unconstitutional

because he has purportedly experienced differing determinations of obscenity with regard to a

photograph that was in color and the same photograph that was in black and white. (Complaint

[Doc. 1], 14.) OCPF does not have the impermissible color photograph or any evidence to

substantiate Plaintiff’s representation that a similar color photograph was rejected. (Ex. 1,

Martinez Aff., ¶ 22.) OCPF also has no evidence substantiating Plaintiff’s claim that, during his

incarceration at OCPF, he received the black and white photograph [Doc. 28] through the mail.

(Ex. 1, Martinez Aff., ¶ 23.) Even if Plaintiff has evidence that he obtained the black and white

photograph through the mail, as opposed to from another prisoner, etc. it should not have been

allowed. (Id.) It was likely an oversight. (Id.) Still, even if the photograph was properly

deemed appropriate – it was not – OCPF is unaware of any authority suggesting that different

determinations regarding these photographs is in any way determinative of the First Amendment


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issue. “[P]rison officials must be accorded latitude in the administration of prison affairs”

including regulating their facilities on the basis of safety concerns. Black v. Warden, United

States Penitentiary, 467 F.2d 202, 204 (10th Cir. 1972) (citing Cruz v. Beto, 405 U.S. 319

(1972). Simply because it is possible that different OCPF personnel reasonably came to different

conclusions about this photograph does not make the NMCD and OCPF policies

unconstitutional.

       Further, despite the ban on sexually explicit materials, OCPF regulations allow a broad

range of publications to enter the facility. (See Complaint [Doc. 1], 8 (Plaintiff representing the

OCPF library has books that inmates can check out); (UMF Nos. 9, 12); see also Thornburgh,

490 U.S. at 418 (“As the regulations at issue … permit a broad range of publications to be sent,

received, and read, [the second Turner factor] is clearly satisfied.”). Plaintiff, and other similarly

situated prisoners, remain able to correspond with individuals outside of prison.       Limiting the

incoming material for the reasons noted above does not so impinge this right. Therefore, this second

Turner factor cuts in favor of upholding the regulations.

       To allow inmates to possess sexually explicit materials would have a significant, adverse,

impact on the safety and security of prison personnel and other inmates. (UMF Nos. 14-20.)

Therefore, in comport with the third Turner factor -- the impact an accommodation of the

constitutional right will have on guards, other inmates, and prison resources -- these regulations

weigh in favor of upholding the regulations.

       Finally, the Court must consider whether there is a readily available alternative to the

regulations. Here, there is not. Neither a blanket prohibition on sexually explicit materials nor a

prohibition against receiving hardback books through the mail has a readily available alternative, and

the absence of such an alternative is evidence of the regulation’s reasonableness. Turner, 482 U.S. at

90-91. Indeed, OCPF is unaware of any alternative that would allow inmates access to obscene


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publications or unfettered access to hardbound books without significantly and adversely

affecting the interests identified above while at the same time imposing de minimis cost to valid

penological interests. (UMF No. 20.) Therefore, the Court should find that CD-151201(E)(6)(e)

does not rise to the level of a constitutional violation and that it is reasonably related to legitimate

penological objectives. Summary judgment dismissing Plaintiff’s claims with prejudice is, thus,

necessary and proper.

                                          CONCLUSION
       Dismissal of Warden Frawner and MTC from this matter is necessary and proper.

Plaintiff has failed to include any factual allegations against them. (See generally Complaint

[Docs. 1, 9].) In the absence of any factual allegations demonstrating personal involvement of

either Warden Frawner or MTC, they should be dismissed with prejudice. In addition, CD-

151201(E)(6)(e) is expressly aimed at advancing jail security and protect the safety of jail

personnel and other inmates. Therefore, the Court should uphold it as constitutional; Plaintiff’s

lawsuit should be dismissed with prejudice.



                                                       Respectfully submitted,

                                                       KELEHER & MCLEOD, P.A.

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I HEREBY CERTIFY that on April 25,
2016, I filed the foregoing pleading
electronically through the CM/ECF System,
which caused counsel of record to be served
by electronic means. I also certify that I
mailed the foregoing pleading to Plaintiff as
follows:

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/s/ Christina Muscarella Gooch
Christina Muscarella Gooch
4836-1155-7679, v. 1




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